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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

UNITED STATES OF AMERICA,                         §
                                                  §
VS.                                               § CIVIL ACTION NO. 7:19-CV-00403
                                                  §
FISHER INDUSTRIES, et al,                         §
                                                  §
           Defendants.                            §

             AGREED AMENDED TEMPORARY RESTRAINING ORDER

          Plaintiff United States of America and Defendants Fisher Industries, Fisher Sand and

Gravel Co., TGR Construction, Inc. (collectively “Fisher Defendants”) and Neuhaus and Sons,

LLC, agree to the entry of this Agreed Amended Temporary Restraining Order. (The Court

notes that the Findings of Fact contained herein have been agreed by the parties who have asked

the Court to enter this Order, While such Findings of Fact largely appear to be accurate, the

Court has not made any independent determination of all such facts and, therefore, does not

consider itself bound by any such agreed Findings of Fact at any future hearing or in any future

order.)

                                       FINDINGS OF FACT

             1. This Court has jurisdiction over the subject matter of this case and there is good

                 cause to believe it will have jurisdiction over Defendants.

             2. Venue lies properly with this Court.

             3. There is good cause to believe that the Fisher Defendants and their subsidiaries

                 have engaged in, and are likely to engage in, acts that violate or have violated

                 the requirements of the USIBWC pursuant to the 1970 Treaty between the

                 United States and Mexico. (Treaty to Resolve Pending Boundary Differences

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             and Maintain the Rio Grande and Colorado River as the International

             Boundary, US – Mex, Nov. 23, 1970, TIAS 7313.).

          4. There is good cause to believe that the United States has a substantial likelihood

             of prevailing on the merits of this action.

          5. There is good cause to believe that the United States has suffered and will

             continue to suffer immediate and irreparable damage if the temporary restraining

             order is not granted.

          6. There is good cause to believe that the threatened injury to the United States

             substantially outweighs any threatened harm to the Defendants.

          7. There is good cause to believe that granting the temporary restraining order will

             not disserve the public interest.

          8. THEREFORE, IT IS ORDERED that Plaintiff United States’ Motion for a

             Temporary Restraining Order and Preliminary Injunction is hereby GRANTED

             and AMENDED as follows. Pending a preliminary injunction hearing, the

             Fisher Defendants (and any entity acting on their behalves who receive actual

             notice of this Order) are hereby immediately restrained and enjoined as follows:

                 a. Constructing a bollard structure, wall or similar structure, pouring
                    concrete or any other permanent structure within the floodplain within the
                    floodplain of the Rio Grande River on land described as an 807.73 gross
                    acre tract of land out of the WEST ADDITION TO SHARYLAND
                    SUBDIVISION, Lots 9-1, 9-2, and Parts of Lots 9-3, 9-4 and Parts of
                    Lots 10-1, 10-2, and 10-3 and Part of Porcion 53 and 54, Hidalgo County,
                    Texas, as per map or plat thereof recorded in Volume 1, Page 56, Map
                    Records, Hidalgo County, Texas as described in the Special Warranty
                    Deed filed as Document No. 2752394, Official Records of Hidalgo
                    County, Texas (See Exhibit 1 to the United States’ Motion Docket No. 5)
                    until such time as the Fisher Defendants comply with the requirements of
                    the USIBWC pursuant to the 1970 Treaty between the United States and
                    Mexico. (Treaty to Resolve Pending Boundary Differences and Maintain


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                    the Rio Grande and Colorado River as the International Boundary, US –
                    Mex, Nov. 23, 1970, TIAS 7313.);

                 b. Shaving, grading or cutting of the bank of the Rio Grande River along
                    the portion described in paragraph (a) until such time as USIBWC
                    fulfills its analysis and other requirements pursuant to the 1970 Treaty
                    between the United States and Mexico. (Treaty to Resolve Pending
                    Boundary Differences and Maintain the Rio Grande and Colorado River
                    as the International Boundary, US – Mex, Nov. 23, 1970, TIAS 7313.);
                    and

                 c. Nothing in this order prohibits the Fisher Defendants, and any related
                    entities from certain specified activities, and accordingly, such
                    Defendants are permitted to clear and grub, construct the trench in which
                    Defendants propose to construct the bollard wall, place rebar and conduit
                    in the trench and seed and plant those portions of the bank which have
                    been graded.

       IT IS FURTHER ORDERED:

          9. No bond is required by the United States of America pursuant to Rule 65(c)

             F.R.C.P.

          10. This Amended Temporary Restraining Order shall expire at 5:00 p.m. on

             January 3, 2020, unless extended by agreement of the parties or extended by

             further order of this Court.

          11. The Court hereby sets this matter for a preliminary injunction hearing on

             January 3, 2020, at 10:00 a.m. before the Honorable Randy Crane, 9th Floor

             Courtroom, Bentsen Tower, McAllen, Texas.

          SO ORDERED this 18th day of December, 2019, at McAllen, Texas.


                                                 ___________________________________
                                                 Randy Crane
                                                 United States District Judge




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